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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

RALPH S. JANVEY, IN HIS CAPACITY AS        §
COURT-APPOINTED RECEIVER FOR THE           §
STANFORD INTERNATIONAL BANK, LTD.,         §
ET AL.,                                    §
                                           §
                       Plaintiff,          §
                                           §
v.                                         §          Case No. 3:13-cv-775
                                           §
PABLO M. ALVARADO, ET AL.,                 §
                                           §
                       Defendants.         §
                                           §
   ________________________________________________________________________

                      RECEIVER’S ORIGINAL COMPLAINT
    ________________________________________________________________________

        Ralph S. Janvey, in his capacity as the Court-appointed Receiver for the Stanford entities,

files this Original Complaint, and alleges as follows:

                                             SUMMARY

        1.       As this Court has already determined, Stanford International Bank, Ltd. and its

many affiliated entities were used as tools to perpetrate a massive, worldwide fraud. The

Stanford fraud, which touched three continents and lasted more than 20 years, could not have

reached the size and scope that it did without the failure of Stanford’s many directors and

officers to fulfill their obligations as fiduciaries to act in the best interests of the Stanford entities

and ultimately the creditors of those entities. Many directors and officers simply looked the

other way, while others actively assisted Stanford in defrauding thousands of people out of

billions of dollars. These directors and officers, who are the Defendants in this lawsuit, put their

continued employment and substantial compensation ahead of the best interests of the entities

they were hired to serve, ahead of their duty to ensure that the Stanford entities were operated


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lawfully, and ahead of the victims of the Stanford fraud. In doing so, they breached their

fiduciary duties to the Stanford entities. The Receiver files this lawsuit so that these Defendants

may be held accountable for their wrongful actions and so that he may recover, on behalf of the

Stanford victims and creditors, the benefits that these Defendants received as a result of their

employment by the Stanford entities and damages for the harm that they caused.

                                             PARTIES

         2.      Plaintiff Ralph S. Janvey has been appointed by this Court as the Receiver for the

assets, monies, securities, properties, real and personal, tangible and intangible, of whatever kind

and description, wherever located, and the legally recognized privileges (with regard to the

entities) of Stanford International Bank, Ltd. (“SIB”), Stanford Group Company (“SGC”),

Stanford Capital Management, LLC, R. Allen Stanford, James M. Davis, Laura Pendergest-Holt,

and all the entities that the foregoing persons and entities own or control, including but not

limited to Stanford Financial Group Global Management, LLC (“SFGGM”); Stanford Financial

Group Company (“SFGC”); Stanford Trust Company (“STC”); Stanford Trust Company Ltd.

(Antigua) (“STCL”); and the representative offices of Stanford Trust Company Ltd. (Antigua),

d/b/a “Stanford Fiduciary Investor Services” (“SFIS”). The Receiver is asserting the claims

contained herein in his capacity as Court-appointed Receiver.

         3.      Defendant Pablo “Mauricio” Alvarado resides in Miami, Florida. Alvarado will

be served pursuant to the Federal Rules of Civil Procedure or by other means approved by the

Court.

         4.      Defendant Henry Amadio resides in Sugar Land, TX. Amadio will be served

pursuant to the Federal Rules of Civil Procedure or by other means approved by the Court.




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         5.      Defendant Daniel “Danny” Bogar resides in Hollywood, Florida. Bogar will be

served pursuant to the Federal Rules of Civil Procedure or by other means approved by the

Court.

         6.      Defendant Kennard “Kenny” Byron resides in Antigua. Byron will be served

pursuant to the Federal Rules of Civil Procedure or by other means approved by the Court.

         7.      Defendant Jay Comeaux resides in Houston, Texas. Comeaux will be served

pursuant to the Federal Rules of Civil Procedure or by other means approved by the Court.

         8.      Defendant Anthony D’Aniello resides in Houston, Texas. D’Aniello will be

served pursuant to the Federal Rules of Civil Procedure or by other means approved by the

Court.

         9.      Defendant Gordon Edwards resides in Houston, Texas. Edwards will be served

pursuant to the Federal Rules of Civil Procedure or by other means approved by the Court.

         10.     Defendant Luis Garcia resides in Houston, Texas. Garcia will be served pursuant

to the Federal Rules of Civil Procedure or by other means approved by the Court.

         11.     Defendant Jason Green resides in Baton Rouge, Louisiana. Green will be served

pursuant to the Federal Rules of Civil Procedure or by other means approved by the Court.

         12.     Defendant Laura “Suzanne” Hamm resides in Germantown, Tennessee. Hamm

will be served pursuant to the Federal Rules of Civil Procedure or by other means approved by

the Court.

         13.     Defendant Rebecca Hamric resides in Houston, Texas. Hamric will be served

pursuant to the Federal Rules of Civil Procedure or by other means approved by the Court.




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         14.     Defendant Mark Kuhrt is in the custody of the Bureau of Prisons. Kuhrt will be

served pursuant to the Federal Rules of Civil Procedure or by other means approved by the

Court.

         15.     Defendant Gilberto “Gil” Lopez is in the custody of the Bureau of Prisons. Lopez

will be served pursuant to the Federal Rules of Civil Procedure or by other means approved by

the Court.

         16.     Defendant Patricia Maldonado resides in Sugar Land, Texas. Maldonado will be

served pursuant to the Federal Rules of Civil Procedure or by other means approved by the

Court.

         17.     Defendant David Nanes resides in Miami, Florida. Nanes will be served pursuant

to the Federal Rules of Civil Procedure or by other means approved by the Court.

         18.     Defendant Laura Pendergest-Holt is in the custody of the Bureau of Prisons.

Pendergest-Holt will be served pursuant to the Federal Rules of Civil Procedure or by other

means approved by the Court.

         19.     Defendant Osvaldo Pi resides in Miami, Florida. Pi will be served pursuant to the

Federal Rules of Civil Procedure or by other means approved by the Court.

         20.     Defendant Nelson Ramirez resides in Hollywood, Florida.        Ramirez will be

served pursuant to the Federal Rules of Civil Procedure or by other means approved by the

Court.

         21.     Defendant Robert “Glen” Rigby resides in League City, Texas. Rigby will be

served pursuant to the Federal Rules of Civil Procedure or by other means approved by the

Court.




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         22.     Defendant Jack Staley resides in Zurich, Switzerland.       Staley will be served

pursuant to the Federal Rules of Civil Procedure or by other means approved by the Court.

         23.     Defendant Linda Wingfield resides in Orlando, Florida. Wingfield will be served

pursuant to the Federal Rules of Civil Procedure or by other means approved by the Court.

         24.     Defendant Robert Winter resides in Houston, Texas.         Winter will be served

pursuant to the Federal Rules of Civil Procedure or by other means approved by the Court.

         25.     Defendant Bernard “Bernie” Young resides in Fulshear, Texas. Young will be

served pursuant to the Federal Rules of Civil Procedure or by other means approved by the

Court.

                                   JURISDICTION & VENUE

         26.     This Court has jurisdiction over this action, and venue is proper, under

Section 22(a) of the Securities Act (15 U.S.C. § 77v(a)), Section 27 of the Exchange Act

(15 U.S.C. § 78aa), and under Chapter 49 of Title 28, Judiciary and Judicial Procedure

(28 U.S.C. § 754).

         27.     Further, as the Court that appointed the Receiver, this Court has jurisdiction over

any claim brought by the Receiver to execute his Receivership duties.

         28.     Further, in accordance with 28 U.S.C. § 754, the Receiver filed the original SEC

Complaint and the Order Appointing Receiver in all United States District Courts, giving this

Court in rem and in personam jurisdiction in every district where the Complaint and Order have

been filed.

         29.     This Court has personal jurisdiction over the Defendants pursuant to FED. R. CIV.

P. 4(k)(1)(c) and 28 U.S.C. §§ 754 and 1692.




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                                   STATEMENT OF FACTS

           30.   On February 17, 2009, the Securities and Exchange Commission filed a lawsuit in

this Court against Allen Stanford, James Davis, Laura Pendergest-Holt, and three of

Mr. Stanford’s companies, Stanford International Bank, Ltd., Stanford Group Company, and

Stanford Capital Management, LLC (collectively, the “Stanford Defendants”). On the same

date, the Court entered an order appointing Ralph S. Janvey as Receiver over all of the property,

assets, and records of the Stanford Defendants, including all of the entities that they own or

control.

I.       The Stanford Defendants operated the Stanford entities as a Ponzi scheme.

         31.     The Stanford Defendants orchestrated and operated a wide-ranging Ponzi scheme.

Stanford Defendant James “Jim” Davis has admitted that the Stanford fraud was a Ponzi scheme

from the beginning. (See Davis Plea Agreement, Case No. 3:09-CV-0298-N, Doc. 771 at ¶ 17(n)

(Stanford, Davis, and other conspirators created a “massive Ponzi scheme”); Davis Tr. of

Rearraignment, Case No. 3:09-CV-0298-N, Doc. 807 at 16:16–17, 21:6–8, 21:15–17

(admitting that Stanford Ponzi fraud was a “massive Ponzi scheme ab initio”).)

         32.     This Court has found that the Stanford entities were operated as a Ponzi scheme.

(See Case No. 3:09-CV-724-N, Doc. 909 at 16–17 (“This Court has repeatedly held that Stanford

operated a Ponzi scheme. . . . Here, the Court again holds that, as a matter of law, Stanford

operated a Ponzi scheme.”); Case No. 3:09-CV-0721-N, Doc. 176 at 19 n.23 (“[T]he Court here

clarifies that it holds that Stanford operated a Ponzi scheme.”); Case No. 3:09-CV-0724-N, Doc.

456 at 2 (“The Stanford scheme operated as a classic Ponzi scheme, paying dividends to early

investors with funds brought in from later investors.”), at 11 (“[T]he Receiver presents ample

evidence that the Stanford scheme . . . was a Ponzi scheme.”), at 13 (“The Court finds that the

Stanford enterprise operated as a Ponzi scheme . . . .”).)


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        33.      The Fifth Circuit has upheld this Court’s finding that the Stanford entities were

operated as a Ponzi scheme.        See Janvey v. Alguire, 647 F.3d 585, 597 (5th Cir. 2010).

In particular, the Fifth Circuit made several rulings on the nature of the Stanford fraud, as

follows:

                 We find that the district court did not err in finding that the
                 Stanford enterprise operated as a Ponzi scheme.

                 ....

                 The Davis Plea and the Van Tassel Declarations provide sufficient
                 evidence to support a conclusion that there is a substantial
                 likelihood of success on the merits that the Stanford enterprise
                 operated as a Ponzi scheme. . . . The Davis Plea, when read as a
                 whole, provides sufficient evidence for the district court to assume
                 that the Stanford enterprise constituted a Ponzi scheme ab initio.

                 ....

                 The Receiver carried his burden of proving that he is likely to
                 succeed in his prima facie case by providing sufficient evidence
                 that a Ponzi scheme existed . . . .

                 ....

                 Here, the Receiver provided evidence of a massive Ponzi
                 scheme . . . .

                 ....

                 The record supports the fact that Stanford, when it entered
                 receivership, was grossly undercapitalized.

Id. at 597, 599, 601.

        34.      This Court has held that all of the Stanford entities, including SIB, were operated

as one for the purposes of perpetrating a massive, worldwide fraud:

                 The Receiver has shown that Stanford operated the entire network
                 of Stanford Entities as an integrated unit in order to perpetrate a
                 massive worldwide fraud. Each Stanford Entity either participated
                 in the scheme, derived benefit from the scheme, or lent the
                 appearance of legitimacy to the entirety of Stanford’s fraudulent
                 enterprise. To ignore these findings would elevate form over


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                 substance – thereby legitimizing the corporate structure that
                 Stanford utilized to perpetrate his fraud and running afoul of Fifth
                 Circuit precedent cautioning courts to look beyond the surface.
                 Thus, because SIB did not observe corporate formalities and
                 because all the Stanford entities were “operated as one for
                 purposes of perpetrating a fraud on investors,” the Court pierces
                 SIB’s corporate veil and aggregates the Stanford Entities.

(See Case No. 3:09-CV-00721-N, Doc. 176 at 36, 50 (internal citation omitted); see also

Case No. 3:09-CV-0724-N, Doc. 909 at 8–9.)

        35.      In marketing, selling, and issuing SIB CDs to investors, the Stanford Defendants

repeatedly touted the SIB CDs’ safety and security and SIB’s consistent, double-digit returns on

its investment portfolio. (See SEC’s Second Amended Complaint, Case No. 3:09-CV-0298-N,

Doc. 952 at ¶¶ 32–33.)

        36.      In its brochure marketing the SIB CD, SIB told investors, under the heading

“Depositor Security,” that its investment philosophy is “anchored in time-proven conservative

criteria, promoting stability in [SIB’s] certificate of deposit.” SIB also emphasized that its

“prudent approach and methodology translate into deposit security for our customers.” (See id.

at ¶ 34.) Further, SIB stressed the importance of investing in “marketable” securities, saying that

“maintaining the highest degree of liquidity” was a “protective factor for our depositors.” (See

id.)

        37.      In its 2006 and 2007 Annual Reports, SIB told investors that SIB’s assets were

invested in a “well-balanced global portfolio of marketable financial instruments, namely U.S.

and international securities and fiduciary placements.” (See id. at ¶ 35.) More specifically, SIB

represented that its 2007 portfolio allocation was 58.6% equity, 18.6% fixed income, 7.2%

precious metals, and 15.6% alternative investments. (See id.)

        38.      Consistent with its Annual Reports and brochures, SIB trained SGC financial

advisors, in February 2008, that “liquidity/marketability of SIB’s invested assets” was the “most


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important factor to provide security to SIB clients.” (See id. at ¶ 36.) In training materials, the

Stanford Defendants also claimed that SIB had earned consistently high returns on its investment

of deposits (ranging from 11.5% in 2005 to 16.5% in 1993). (See id. at ¶ 49.)

        39.      Contrary to SIB’s representations regarding the liquidity of its investment

portfolio, SIB did not invest in a “well-diversified portfolio of highly marketable securities.”

Instead, significant portions of SIB’s portfolio were misappropriated by the Stanford Defendants

and were either placed in speculative investments (many of them illiquid, such as private equity

deals), diverted to other Stanford entities “on behalf of shareholder” (i.e., for the benefit of Allen

Stanford), or used to finance Allen Stanford’s lavish lifestyle (e.g., jet planes, a yacht, other

pleasure craft, luxury cars, homes, travel, company credit cards, etc.). In fact, at year-end 2008,

the largest segments of SIB’s investment portfolio were in speculative and illiquid private equity,

over-valued real estate, and at least $1.8 billion in undocumented “loans” to Allen Stanford.

        40.      For example, Stanford records assigned a value of $3.174 billion to the real estate

holdings in SIB’s investment portfolio. However, those same records listed only two assets in

this category—real estate holding companies that owned two properties in Antigua. These two

properties were purchased (via the purchase of their holding companies) in 2008 for a total of

$63.5 million. The unsupported 5,000% inflation to the assigned value of these assets in a 4 to

6-month period was a result of Allen Stanford and Jim Davis’s plan to effect a series of paper

transactions intended to increase the value of SIB’s real estate holdings on its balance sheet, even

though there was no basis for any increase in the value of those holdings during that period.

        41.      In an effort to conceal their fraud and ensure that investors continued to purchase

SIB CDs, the Stanford Defendants fabricated the performance of SIB’s investment portfolio.

(See id. at ¶ 4.) SIB’s financial statements, including its investment income, were fictional.




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(See id. at ¶¶ 4, 53.) In calculating SIB’s investment income, Allen Stanford and Jim Davis

provided to SIB’s internal accountants, Defendants Gil Lopez and Mark Kuhrt, a pre-determined

return on investment for SIB’s portfolio. (See id.) Using this pre-determined rate of return,

SIB’s accountants reverse-engineered SIB’s financial statements to reflect investment income

that SIB did not actually earn. (See id.)

          42.      For a time, the Stanford Defendants were able to keep the fraud going by using

funds from current sales of SIB CDs to make interest and redemption payments on pre-existing

SIB CDs. (See id. at ¶ 1.) However, in late 2008 and early 2009, SIB CD redemptions increased

to the point that new SIB CD sales were inadequate to cover redemptions and normal operating

expenses. As the depletion of liquid assets accelerated, the Stanford Ponzi scheme collapsed.

II.       There were numerous “red flags” indicating that the Stanford entities were being
          operated as a massive fraud.

          43.      SIB’s investment returns were too good to be true. SIB offered CD rates that

were significantly higher than the rates that were being offered by U.S. banks. In its own

marketing brochure, SIB included the following comparison between SIB CDs and U.S. bank

CDs from 1997 to 2006:

                 1997    1998   1999   2000    2001        2002   2003     2004   2005   2006

SIB Yield (%)    10.13   9.25   8.71   9.625   9.13        7.17   6.38     6.21   6.52   7.13

U.S. Yield (%)   5.8     5.3    4.9    5.85    3.55        1.85   1.78     2.7    4.46   5.08


          44.      At their worst, SIB CDs provided a rate of return that was 140% greater than the

average rate for U.S. bank CDs. At their best, SIB CDs provided a rate of return that was 388%

greater than the average rate for U.S. bank CDs.

          45.      Even more incredible were the overall rates of return earned by SIB’s investment

portfolio between 1997 and 2007—i.e. the total amount purportedly earned by SIB by investing



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SIB CD proceeds, not just the amount paid to investors. SIB reported high rates of return and

consistent profitability of its investment portfolio, even when the world economy was in crisis.

Specifically, according to internal company documents, the SIB investment portfolio had a

14.9% overall rate of return in 1997, 14.8% in 1998, 14.2% in 1999, 14.1% in 2000, 14.3% in

2001, 14% in 2002, 11.7% in 2003, 11.9% in 2004, 12.1% in 2005, 12% in 2006 and 12.7% in

2007. These internal documents were part of the training materials that were used to train

Stanford financial advisors to sell the SIB CDs.

            46.         A comparison of SIB’s claimed overall rate of return on its investment portfolio to

well known index rates of return during the same years further highlights the disparity in

performance between the SIB investment portfolio and the world financial markets during that

time period. Over the years, the performance of the SIB investment portfolio often exceeded

many of the well-known index rates of return. Even when it did not, the purported returns on the

SIB investment portfolio were remarkably consistent and steady from year to year—a result that

is extremely rare in normal market conditions and even more so during the time period in

question. The chart below shows major index returns from 1997 to 2007, as well as the returns

allegedly earned by SIB during those years (all as reflected in SIB’s own documents):

                 1997     1998    1999     2000     2001      2002     2003    2004    2005    2006    2007

SIB      Yield   14.9     14.8    14.2     14.1     14.3      14       11.7    11.9    12.1    12      12.7
(%)

Dow Jones        22.64    16.10   25.22    -6.18    -7.10     -16.76   25.32   3.15    -0.61   16.29   6.43
Return

Dow Jones        36.84    32.00   46.74    -2.69    -20.25    -37.30   15.68   6.90    21.28   15.12   6.79
Stoxx      50

Return

Nasdaq 100       20.63    85.31   101.95   -36.84   -32.65    -37.58   49.12   10.44   1.49    6.79    18.67
Return




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S&P      500   31.01   26.67   19.53   -10.14   -13.04    -23.37   26.38   8.99   3.00   13.62   3.53
Return




          47.      SIB’s commission rate structure was also too good to be true. In fact, it was

economically unsustainable.            SGC financial advisors were paid far above normal market

commission rates to sell the SIB CDs. SGC received a 3% commission (also called a “referral

fee”) on the initial sale of a SIB CD and 3% annually for the life of the CD. Financial advisors,

in turn, received as much as an annual 1% commission on all amounts that their customers had

invested in SIB CDs for that year and were eligible for commissions on the initial sale of CDs of

1% or more. As the SEC pointed out in a September 2005 letter to Jay Comeaux as part of an

SEC investigation, this commission structure would result in SGC receiving a referral fee of 15%

of the amount invested in a SIB CD with a 60-month maturity, which the SEC said was more

than any rate legally allowed. SGC financial statements referred to this letter in 2005, 2006, and

2007. By comparison, when SGC brokers sold U.S. bank CDs, the commission to SGC was in

the range of 0.05% to 0.125% of the initial amount invested—roughly 150 times smaller than the

commission SGC received on SIB CDs.

          48.      The SIB CD commission structure for financial advisors was unusual in other

ways. Each year, Stanford financial advisors received a percentage of the total amount that their

clients held in SIB CDs, regardless of whether the financial advisor sold any new SIB CDs that

year. This “trailing commission” incentivized financial advisors to pressure customers into not

redeeming their SIB CDs—i.e. into leaving their money invested in SIB. Commission and bonus

structures like that used by SIB are not typical, largely because they cannot be sustained

economically—i.e. the investments made with proceeds from the sale of the CD do not cover the

stated CD rate of return, commissions, referral fees, and other applicable expenses.



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        49.      The information available to the Defendants regarding SIB’s investment portfolio

was inadequate. The NASD concluded as early as 2006 that SGC violated NASD rules through

“unwarranted and misleading” assertions that SIB’s investments were “prudent” at a time when

SGC admitted that “no one at SGC knows what the investments are.”

        50.      As reported in SIB’s annual statements, SIB’s auditing firm was C.A.S. Hewlett

& Co., Ltd. The Hewlett firm—a small, local firm located in Antigua—lacked the apparent

resources, credentials, reputation, and staff to audit a multi-billion dollar investment portfolio.

SIB used the Hewlett firm even though at least two of the Big 4 audit firms and several other

international firms had a presence in Antigua and all of the Big 4 had locations in the Caribbean.

Although various financial advisors called for the use of a large, reputable audit firm to calm

concerns raised by individual clients, SIB continued to use the Hewlett firm until the very end.

        51.      The flow of funds between SIB and the other Stanford entities was also unusual.

In its 2007 Annual Report, SIB told investors that “our sole shareholder reinvests every dollar

earned back into retained earnings; an act of foresight that has continuously strengthened our

capital base for future growth. And that’s why we are able to pay consistent returns to our

clients, year after year, through market ups and market downs.” In “talking points” that were

prepared in response to questions from clients who were concerned about the negative publicity

surrounding SIB and the SIB CDs, Stanford personnel represented that “[e]very single dollar

earned is reinvested back into the Bank’s retained earnings, which continuously strengthens its

capital base for continued growth.” Because SIB was actually propping up the other Stanford

entities through substantial capital infusions, these statements were indisputably false.

        52.      SIB had a long history of regulatory scrutiny. In 1997, various departments

within the SEC found that the Stanford entities were being operated as a Ponzi scheme. These




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findings were based on, among other things, examinations in which the SEC found that: (1) SIB

advertised consistent and significantly-above-market rates of return to CD holders; (2) SIB paid

SGC, and SGC in turn paid its financial advisors, commissions that were significantly above

market rates; (3) SIB’s reported investment returns were consistent in volatile markets and were

higher than those that would be likely from the type of “safe” investments described to investors;

and (4) SGC and its financial advisors neither maintained nor had access to sufficient

information regarding the SIB CDs or SIB’s investment portfolio. In 1998, the SEC conducted

another examination of SGC. The examiner who conducted the examination has testified that

SGC’s complete lack of information regarding the SIB CDs it was selling amounted to fraud.

        53.      In 2004, the SEC conducted yet another examination of SGC and, in the resulting

report, concluded that: (1) “the offering of the SIB CDs may in fact be a very large ponzi

scheme, designed and marketed by SIB’s and SGC’s [sic] to lull investors into a false sense of

security by their claims that the SIB products are similar to traditional U.S. bank CDs;” (2) SGC

was a high regulatory risk with regard to sales practice issues; (3) “little, if any of the funds

invested into the SIB CDs may actually be invested as represented to investors;” (4) SGC failed

or refused to produce documents showing how the proceeds from the sale of SIB CDs were

invested; (5) SGC’s regulatory violations included making misrepresentations and omissions to

customers, charging excessive commissions, and failing to disclose the amount of commissions

charged; and (6) the following factors supported the conclusion that the SIB CDs were a fraud—

excessive commissions, aggressive sales contests, high “interest” rates, high returns every year

for the last 10 years, SIB will not disclose its portfolio, and other factors leading the SEC to

believe that Allen Stanford may have been engaging in money laundering and using investor

funds without any oversight.




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        54.       In 2005, the SEC concluded that SGC’s SIB CD marketing materials falsely

“imply little or no risk to the investor” and that those marketing materials were “materially

misleading as they inaccurately imply a safety of principal and the guaranteed receipt of interest

of the principal.” In connection with that same inquiry, the SEC sent a detailed questionnaire to

a number of SIB CD investors, clearly signaling concerns about the SIB CDs, the makeup of

SIB’s investment portfolio, and misrepresentations that customer deposits were guaranteed or

protected by insurance. Questions on the questionnaire included:

              •   “Did anyone tell you where Stanford was going to invest your
                  funds in order to generate returns for CD Program Investors?”

              •   “Did anyone tell you that funds invested in the CD Program were
                  insured against loss?”

              •   “Did anyone guarantee the return of your principal investment?”

              •   “Please describe in full what you were told, if anything, about the
                  risk of this investment.”

Notice of this questionnaire was sent to all SGC financial advisors in May 2005.

        55.       In February 2007, a prospective SIB client commissioned an analysis of the SIB

CD product, which he then sent to his Stanford financial advisor (the “2007 Investor Analysis”).

The analysis essentially concluded that SIB was a Ponzi scheme.              It found that SIB was

“susceptible to a dependence on new deposits and renewed certificates in order to continue

paying investors the guaranteed CD interest and the principal of maturing CDs” because only a

small drop in the equities markets would likely render its assets insufficient to meet its liabilities.

The 2007 Investor Analysis was circulated among several high-level Stanford employees,

including Defendants Jason Green, Glen Rigby, Suzanne Hamm, and Bernie Young. None of

the individuals who reviewed the 2007 Investor Analysis took any meaningful action in response

to the serious allegations contained therein.



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        56.      In July 2008, Bloomberg published an article stating that the SEC was

“investigating sales of certificates of deposit by Stanford Group Company at its offshore bank,

which has $6 billion in assets in Antigua” (the “Bloomberg Article”) and that the SEC had issued

subpoenas to two former SGC financial advisors—Charles Rawl and Mark Tidwell—both of

whom were allegedly forced to resign in 2007 because they refused to participate in SGC’s

“illegal and unethical” marketing methods. Among other things, the SEC subpoenas sought

information about the sale of SIB CDs and requested copies of training materials on SIB CD

sales methods. The Bloomberg Article prompted much discussion among both Stanford

personnel and SIB CD investors. It also led several investors to withdraw their funds from SIB.

III.    The Defendants were directors and officers of the Stanford entities.

        57.      As noted above, this Court has held that each Stanford entity either participated in

the scheme, derived benefit from the scheme, or lent the appearance of legitimacy to the entirety

of Stanford’s fraudulent enterprise. (See No. Case 3:09-CV-00721-N, Doc. 176 at 36.) Each of

the Defendants owed a fiduciary duty to place the interest of operating the Stanford entities in a

lawful manner above their own interest in being highly-compensated Stanford insiders, including

by using reasonable care in operating and managing the Stanford entities, by operating the

Stanford entities in a reasonably prudent manner, and by operating the Stanford entities in

compliance with all applicable laws and regulations. In failing to do so, the Defendants breached

their fiduciary duties to the Stanford entities.

        58.      Based on the Defendants’ respective positions, knowledge, and access to relevant

information, including based on the facts set forth below, they either knew or should have known

that the Stanford entities were not profit-making enterprises, that the Stanford entities were being




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propped up by proceeds from the sale of SIB CDs, and that the Stanford entities were being

operated by the Stanford Defendants as a massive fraud.1

A.      Mauricio Alvarado

        59.      Alvarado was formerly General Counsel and head of the legal department of the

worldwide Stanford operations with its headquarters in Houston, Texas and operations in the

United States, Latin America, Europe and the Caribbean. As General Counsel, Alvarado became

intimately familiar with the operations and the financial condition of the Stanford entities. He

was also aware that the proceeds from the sale of SIB CDs flowed into SIB’s bank accounts and

were then used to pay the operating expenses of the other Stanford entities. Alvarado worked

very closely with Allen Stanford and other high-level Stanford personnel to oversee the legal

operations of all the Stanford entities.

        60.      Alvarado was aware of the SEC’s investigation into the SIB CDs in 2005.

Numerous financial advisors communicated with Alvarado regarding questions and comments

they had received from concerned clients in connection with the SEC’s inquiries.

        61.      In 2005, Alvarado learned that the sale of SIB CDs in Ecuador had been

suspended by Ecuadorian authorities for violating Ecuadorian law, and he worked with outside

counsel to respond to the “Ecuador situation.” Alvarado received a number of e-mails from

financial advisors who had been contacted by clients that were concerned about the soundness of

their investments.

        62.      Alvarado also worked in concert with Allen Stanford to draft a misleading letter

on the letterhead of Leroy King of FSRC (the Antiguan governmental entity ostensibly

responsible for regulating SIB) in response to an SEC inquiry to the FSRC. Alvarado understood
1
         The facts outlined herein are not intended to be an exhaustive recitation of the facts establishing the
Defendants’ culpability. Further, the Receiver continues to uncover relevant facts as a result of his ongoing
investigation of Stanford’s massive fraud.



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at the time that the FSRC would not disclose his or other Stanford personnel’s involvement in

preparing the response to this SEC inquiry.

        63.      Alvarado was also among the first to be informed of the Bloomberg Article.

Before it was published, Alvarado worked closely with other high-level Stanford officials to

prepare misleading responses to a number of claims regarding the SEC’s investigation into the

SIB CDs.

B.      Henry Amadio

        64.      Amadio served as Accounting Manager for SFGC. He was employed by the

Stanford entities from 2002 to 2009. Amadio’s duties at SFGC included drafting a regular

“shareholder funding report” detailing how various Stanford entities were funded by loans from

SIB to Allen Stanford.          At Allen Stanford’s criminal trial, Amadio testified that he knew

“as early as 2005” that Allen Stanford was misappropriating proceeds from the sale of SIB CDs

for his personal use and to finance other Stanford entities. Amadio also testified that he knew

SIB’s 2007 Annual Report contained false information while he was involved in drafting it.

In particular, Amadio testified that he knew the report’s statement that “SIB does not expose its

clients to risks associated with commercial loans” was inaccurate and that he was concerned that

the loans being made to fund the other Stanford entities would not be repaid.

C.      Danny Bogar

        65.      Bogar served as the CEO and President of SGC. He was employed by the

Stanford entities from 2004 to 2009. Bogar had additional roles with other Stanford entities,

including: Managing Director and member of the Board of Directors of Stanford Group

Holdings, Ltd.; Director of Stanford Capital Management, LLC; and Director of Stanford Trust

Company.




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        66.      Bogar was closely involved in the operations of the Stanford entities. In late 2007

or early 2008, Bogar was named the regional director for the Stanford entities’ North American

operations. Among other things, he worked closely with Jim Davis in developing plans to

restructure, reorganize, and consolidate the Stanford entities’ operations. Bogar also knew of

and participated in moving capital and investments between the Stanford entities. He worked

closely with Davis and with the other regional directors in creating and coordinating regional and

global budgets for the Stanford entities.

        67.      Bogar also worked closely with SGC’s clearing agent, whose credit risk analyst

expressed discomfort with Stanford’s business model and encouraged Bogar to retain a Big 4

accounting firm to verify the audits performed by the Hewlett firm in Antigua. In July 2008,

Bogar learned that the State of Florida Office of Financial Regulation was investigating SIB.

Nevertheless, Bogar worked with Allen Stanford, Jim Davis, Laura Pendergest-Holt, Juan

Rodriguez-Tolentino and Jason Green to develop misleading talking points aimed at reassuring

concerned clients.      In mid-January 2009, Davis informed Bogar that SIB’s private equity

portfolio differed from past representations. In early-February 2009, Bogar attended the private

meetings in Miami, Florida, where the inaccuracies in SIB’s financial statements were revealed.

D.      Jay Comeaux

        68.      Comeaux served as President and Executive Director of SGC. He was employed

by the Stanford Entities from 1996 to 2009. Comeaux had additional roles with other Stanford

entities, including: Director of Stanford Trust Company; Director of Stanford Bank Holdings

Ltd.; Director of Stanford International Bank Holdings Limited; Director of Stanford Trust

Holdings Ltd.

        69.      In his position as President and Executive Director of SGC, Comeaux was

responsible for the overall supervision of the financial advisors who actually recommended and


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sold the SIB CDs. Comeaux also recommended and sold SIB CDs to investors. Although SIB

did not disclose the details of its investment holdings to SGC executives, including Comeaux,

Comeaux made representations to investors concerning SIB’s investment portfolio and knew that

SGC financial advisors were trained to do the same.

         70.     In 2005, the SEC contacted Comeaux directly to inquire about the SIB CDs and

SIB’s investment portfolio. During this same time period, Comeaux received several reports

from financial advisors that their clients were expressing concerns about their investments as a

result of having been contacted by the SEC regarding SIB and the SIB CD. In 2008, Comeaux

discussed the Bloomberg Article with several financial advisors. In January 2009, Comeaux was

told by another financial advisor that a former Stanford employee had told a local CPA that SIB

was a fraud. Nevertheless, Comeaux continued to recommend and sell SIB CDs to clients and

continued to supervise other financial advisors who were doing the same.

E.       Anthony D’Aniello, Gordon Edwards, and Kenny Byron

         71.     D’Aniello served as President and Director of STCL from 2003 to 2008. Under

the direction of Allen Stanford, D’Aniello was responsible for setting STCL’s financial goals and

business strategy.     D’Aniello expanded STCL’s reach by opening representative offices in

Columbia. Upon leaving STCL, D’Aniello agreed to serve on Stanford’s International Advisory

Board.

         72.     Edwards served as Treasurer of STCL from 2001 to 2007. He was employed by

the Stanford entities from 1998 to 2007. Edwards was actively involved in the management of

STCL trusts that were invested in SIB CDs.

         73.     Byron served as Director of STCL from 2003 to 2008. He was employed by the

Stanford entities from 1999 to 2008. Byron also served as Managing Director and as member of

the Board of Directors of Bank of Antigua Limited.


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        74.      STCL received referral fees from SIB in exchange for investing trust assets in SIB

CDs. Because these fees from SIB constituted STCL’s primary source of revenue, D’Aniello,

Edwards, and Byron were particularly familiar with SIB’s operations, including with respect to

its role in supporting the other Stanford entities.

F.      Luis Garcia

        75.      Garcia served as SFGC’s Director of Internal Audit from 2006 to 2009. He

reported directly to Jim Davis. By agreement between SFGC and SIB, SFGC provided internal

audit services to SIB. Garcia prepared quarterly audit reports for SIB, which he sent directly to

Allen Stanford. Garcia performed these audits through at least October 2008. Garcia knew that

the internal audit services he was providing to SIB were inadequate because they did not include

a real audit of SIB’s investment portfolio.

        76.      In late 2007 and early 2008, Garcia served on Stanford’s Governance

Committee—an ad hoc committee set up by Allen Stanford, Jim Davis, and others to improve

the Stanford entities’ operations and management structure.

        77.      Garcia resigned from his position as Director of Internal Audit a week before the

Receiver was appointed.

G.      Jason Green

        78.      Green served in several capacities at SGC from 1996 to 2009, including as the

Producing Branch Manager of the Baton Rouge, Louisiana office, as the President of the U.S.

Private Client Group at SGC, and as a financial advisor. Green had additional roles with other

Stanford entities, including: Director of Stanford Trust Company and Director of Stanford

Family Office, LLC.

        79.      In his capacity as President of the Private Client Group, Green was well-informed

about SIB’s financial condition. Green was responsible for the weekly and monthly reports


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about SIB that were distributed to Stanford’s managing directors and financial advisors, and was

regularly consulted by the managing directors and financial advisors about SIB’s operations.

Along with Bernie Young, SFGC’s Managing Director and Chief Compliance Officer, Green

trained Stanford financial advisors on how to sell SIB CDs.

          80.    In addition to his expertise regarding SIB’s financial condition and operations,

Green was aware of concerns that had been raised externally about SIB’s solvency and the

Stanford scheme. For example, Green forwarded the 2007 Investor Analysis to other Stanford

personnel, including Suzanne Hamm and Bernie Young, and noted that it was “another one.”

In 2008, Green received another report prepared by a prospective client’s CPA, questioning

SIB’s financial performance.

          81.    Green was also aware of regulators’ concerns. After Bloomberg reported in July

2008 that the SEC was investigating SIB and the other Stanford entities, Green reassured

managing directors and financial advisors that were concerned about the article. In September

2008, Green learned that the State of Florida Office of Financial Regulation was investigating

SIB and questioning investors. Green communicated directly with Allen Stanford and Jim Davis

about that investigation.

          82.    Green also helped formulate misleading statements to the public and to Stanford

employees and investors about SIB and the SIB CDs. In 2008, Green worked closely with

others,    including     Allen   Stanford,   Jim    Davis,   Laura   Pendergest-Holt,   and   Juan

Rodriguez-Tolentino, to draft talking points to distribute to concerned SIB clients. In 2009,

Green continued to work on Stanford’s public relations matters, including working with Suzanne

Hamm to prepare responses to negative press regarding the Stanford entities.




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H.      Suzanne Hamm

        83.      Hamm served as Chief Marketing Officer/North America for SFGC and was

employed by the Stanford entities from 2005 to 2009. Throughout her tenure, Hamm was

frequently involved in preparing talking points for responding to questions from clients regarding

the negative publicity surrounding SIB and the SIB CDs.

        84.      In November 2006, Hamm assisted in drafting standard responses to be used by

financial advisors in communications with clients regarding the negative publicity surrounding

the SIB CDs. In February 2007, Hamm worked with an outside PR consultant to develop a

comprehensive list of talking points that financial advisors could use in responding to client

questions. In November 2007, Hamm provided a financial advisor with talking points after the

financial advisor asked for help in responding to a prospective client who had heard rumors

“about Stanford’s ‘shady’ off-shore practices.”

        85.      Hamm reviewed the 2007 Investor Analysis discussed above and was closely

involved in preparing a response. Hamm was also involved in crafting a response to the

Bloomberg Article. In September 2008, Hamm sent talking points to a financial advisor whose

client was asking about the Bloomberg Article.

I.      Rebecca Hamric

        86.      Hamric served as a corporate attorney for SFGC from 1999 to 2009. Hamric

provided legal services to many of the Stanford entities, including preparing state and federal

securities filings (such as registration statements and SEC Form Ds); drafting the subscription

agreements signed by SIB CD investors; drafting various agreements between the Stanford

entities (such as the consulting agreement between SIB and SGC, the referral agreement between

SIB and STC, and various agreements between SIB and its international affiliates); advising




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about the contents of disclosure statements, brochures, and other CD marketing materials; and

responding to inquiries from regulators (such as NASD, FINRA, and the SEC).

        87.      In performing these responsibilities, Hamric became intimately familiar with

SIB’s operations and financial condition.       For example, in response to the NASD’s 2006

investigation into SGC’s SIB CD sales, Hamric drafted a letter asserting that SGC had

adequately disclosed the risks of investing in SIB CDs and that the SIB CD qualified as a

prudent investment.

J.      Gilberto “Gil” Lopez and Mark Kuhrt

        88.      Lopez served as Chief Accounting Officer for SFGC. Kuhrt served as Global

Controller for SFGGM. They were both employed by the Stanford entities from 1997 to 2009.

Lopez and Kuhrt provided accounting services to several Stanford entities, including SIB, SFGC,

and SFGGM. Neither Lopez nor Kuhrt is a CPA.

        89.      Lopez and Kuhrt are named defendants in the SEC’s civil action against the

Stanford Defendants. According to the SEC’s Second Amended Complaint, Lopez and Kuhrt

were well aware of the undocumented “loans” to Allen Stanford. (See SEC’s Second Amended

Complaint, Case No. 3:09-CV-0298-N, Doc. 952 at ¶ 42.) The personal “loans” to Stanford

were inconsistent with representations that had been made to SIB investors. (See id. at ¶ 46.)

For example, SIB’s annual reports included a section entitled “Related-Party Transactions,”

which purported to disclose all related-party transactions entered into by SIB. (See id.) SIB’s

“loans” to Allen Stanford were not disclosed in that section, in SIB’s quarterly reports to the

FSRC, or anywhere else. (See id.) With full knowledge that these “loans” existed, Lopez and

Kuhrt were involved in preparing, reviewing, and authorizing the filing and dissemination of

these false and misleading reports. (See id.)




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        90.      The SEC has also alleged that Lopez and Kuhrt falsified SIB’s financial

statements, including by fabricating the growth, composition, and performance of SIB’s

investment portfolio to give the appearance that SIB’s investments were highly profitable.

(See id. at ¶ 48.) In calculating SIB’s investment income, Allen Stanford and Jim Davis would

provide Lopez and Kuhrt with a pre-determined return on investment for SIB’s portfolio, and

Lopez and Kuhrt would reverse-engineer SIB’s financial statements to reflect investment income

that SIB did not actually earn. (See id. at ¶ 53.) After calculating the fictional investment

income and asset growth necessary to support the pre-determined return, Lopez and Kuhrt would

falsify SIB’s accounting entries accordingly. (See id.) In doing so, Lopez and Kuhrt caused SIB

to report investment income that it did not actually earn and thus greatly inflated the value of its

investment portfolio. (See id. at ¶ 54.)

        91.      Both Lopez and Kuhrt have been convicted for their involvement in the Stanford

Ponzi scheme. Both have been sentenced to 240 months in prison.

K.      Patricia Maldonado

        92.      Maldonado served as the Treasury Manager and Assistant Secretary for SFGC.

She was employed by the Stanford entities from 1995 to 2009. Maldonado had additional roles

with other Stanford entities, including: Director of Stanford International Management, Ltd.;

Director of Stanford Management Holdings, Ltd.; Treasurer and Director of Stanford Corporate

Holdings International, Inc.; and Assistant Secretary of Stanford Financial Group Limited (IBC).

        93.      Maldonado served as Treasury Manager for the final eight years of her tenure.

In her position as Treasury Manager, Maldonado reported directly to Jim Davis and oversaw the

accounts of all the Stanford entities. Her responsibilities included cash management, global cash

reporting, approving transactions, opening accounts, managing banking relationships, and

signing checks.


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        94.      Maldonado knew how funds flowed between the Stanford entities. In particular,

Maldonado was aware that the proceeds of SIB CD sales flowed into SIB’s bank accounts and

that they were then used to pay the operating expenses of the other Stanford entities. Maldonado

and her subordinates prepared periodic reports for Allen Stanford and Jim Davis detailing the

cash flows and balances in SIB’s bank accounts.

        95.      Maldonado learned of the Bloomberg Article in July 2008, but, according to her

own admission, did nothing to investigate the validity of the allegations made by Rawl and

Tidwell. In early-February 2009, Maldonado learned of articles in VenEconomy Monthly and

Businessweek suggesting that the SIB CDs were fraudulent.

        96.      Despite these red flags, on February 17, 2009, Maldonado transferred

approximately $12 million from a SIB account at Trustmark National Bank to a SIB account at

Toronto Dominion Bank. Later that same day, the Receiver took control of SFGC and halted

further transfers.

L.      David Nanes

        97.      Nanes was President of Stanford Group Mexico, S.A. de C.V. and Stanford

Fondos S.A. de C.V. He was also a Director of Stanford International Holdings (Panama), S.A.

and Stanford Bank (Panama), S.A. Nanes was employed by the Stanford entities from 1994 to

2009. He oversaw the expansion of the Stanford entities into Mexico and South America and

was charged with opening up these areas to the sale of Stanford financial products. Nanes was

actively involved in the marketing and sale of the SIB CDs in Mexico and South America and

made representations to potential investors that the SIB CDs were insured by Lloyd’s of London.

M.      Laura Pendergest-Holt

        98.      Pendergest-Holt was SFGC’s Chief Investment Officer. She was employed by the

Stanford entities from 1997 to 2009. Pendergest-Holt had additional roles with other Stanford


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entities, including: Director of Stanford International Management, Ltd.; Director of Stanford

Management Holdings, Ltd.; Director of Stanford Capital Management, LLC; and Director of

Stanford Trust Company Administradora de Fonos y Fideicomisos S.A.

        99.      Pendergest-Holt facilitated the Stanford Ponzi scheme by misrepresenting to

investors that she managed SIB’s multi-billion dollar investment portfolio and supervised a

sizeable team of investment analysts. In reality, Pendergest-Holt was involved in managing only

a small portion of SIB’s investment portfolio.

        100.     In 2006 and 2007, Pendergest-Holt trained SIB’s Senior Investment Officer

(“SIO”) to tell investors that SIB’s multi-billion dollar portfolio was managed by a “global

network of portfolio managers” and “monitored” by a team of analysts in Memphis, Tennessee.

In communicating with investors, the SIO followed Pendergest-Holt’s instructions, telling

investors that SIB’s investment portfolio was managed by a global network of money managers

and monitored by a team of more than 20 Stanford analysts.

        101.     Pendergest-Holt did not disclose to investors that SIB’s investment portfolio was

segregated into three tiers: (i) cash and cash equivalents (“Tier 1”); (ii) investments managed by

money managers and monitored by the Stanford analysts (“Tier 2”); and (iii) undisclosed assets

managed by Stanford and Davis (“Tier 3”).             As of December 2008, Tier 1 represented

approximately 9% of SIB’s investment portfolio (approximately $800 million). Tier 2, prior to a

decision to liquidate $250 million of investments in late 2008, represented approximately 10% of

SIB’s investment portfolio. And Tier 3 represented approximately 80% of SIB’s investment

portfolio.

        102.     Pendergest-Holt did not disclose to investors that SIB’s Tier 3 assets were being

“managed” and “monitored” exclusively by Stanford and Davis, not the global network of




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money managers or team of Stanford analysts that Pendergest-Holt frequently touted. In fact,

Pendergest-Holt trained the SIO “not to divulge too much” about the oversight of SIB’s

investment portfolio because such information “wouldn’t leave an investor with a lot of

confidence.”

        103.     In early-February 2009, Allen Stanford and Jim Davis participated in meetings

with a group of senior Stanford executives in Miami, Florida. The purpose of the meetings was

to prepare Pendergest-Holt and SIB’s President for sworn testimony before the SEC. During

these meetings, Stanford and Davis admitted that they had misappropriated investor funds by

making the undocumented “loans” to Stanford discussed above. Four days after the Miami

meetings, Pendergest-Holt testified before the SEC regarding SIB’s multi-billion dollar

investment portfolio.           Pendergest-Holt denied, however, any knowledge concerning the

allocation of the vast majority of SIB’s assets, even though she knew that more than 80% of

SIB’s investment portfolio was comprised of speculative and illiquid private equity investments,

over-valued real estate, and undocumented “loans” to Allen Stanford.

N.      Osvaldo Pi

        104.     Pi held the title of Managing Director of Merchant Banking for SGC. He was

employed by the Stanford entities from 2001 to 2009. Pursuant to an advisory agreement

between SGC and SIB, SGC was paid a fee to provide consulting services in connection with the

management, administration, monitoring, and oversight of certain private equity investments

held by SIB. Pi led these efforts on behalf of SGC.

        105.     Pi was aware of the allegations being made regarding the Stanford entities at least

as early as July 2008. After receiving a copy of the Bloomberg Article from the Chairman and

CEO of one of the entities in which SIB had invested, Pi forwarded the article to several other

high-level Stanford officials.


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        106.     Pi was aware or should have been aware that the private equity investments held

by SIB were inconsistent with the disclosure made by SIB about the nature of its investment

portfolio. Moreover, Pi provided inaccurate and flawed valuations of SIB’s private equity

investments to Stanford personnel who were responsible for reporting the value of SIB’s

investment portfolio.

O.      Nelson Ramirez

        107.     Ramirez served as the Managing Director of SFIS from 2005 to 2006 and as

Executive Director of SGC’s Private Client Group from 2006 to 2007. He was employed by the

Stanford entities from 1999 to 2007. Ramirez was aware of concerns regarding the SIB CDs as

early as May 2005, when he received a notification that the SEC was inquiring into SGC’s

marketing of the SIB CDs. Ramirez obtained six-figure commissions for selling SIB CDs and

had a duty to investigate the CDs in his capacity as a Stanford insider.

P.      Glen Rigby

        108.     Rigby served as Chief Litigation Counsel for SFGC from 2005 to 2009. As noted

above, Rigby reviewed the 2007 Investor Analysis in February 2007 and was well aware of the

questions surrounding SIB and the SIB CDs for several years before the Court appointed the

Receiver.

        109.     In January 2008, an attorney for Charles Rawl and Mark Tidwell sent a draft

petition against SGC to several Stanford attorneys, including Rigby. In the draft petition, Rawl

and Tidwell alleged that “[d]uring the course of their employment [with SGC], [they] became

aware of certain illegal practices at Stanford involving the sale of SIBL certificates of deposit

and other securities offerings.” In particular, Rawl and Tidwell alleged that SGC purged and

destroyed documents with knowledge of an ongoing SEC inquiry into the SIB CD and the CD




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sales practices, and knowingly used false historical performance data in selling securities to

clients.

           110.   In July 2008, Rigby was copied on several e-mails involving high-level Stanford

officials discussing the Bloomberg Article. On July 7, 2008, Rigby forwarded the Bloomberg

Article to another Stanford attorney and suggested that Rawl and Tidwell’s attorney was “the

driving force behind the story and probably solicited the subpoenas from the SEC.”

           111.   In late-July 2008, Rigby was involved in reviewing drafts of a statement of claim

in SGC’s FINRA arbitration against Rawl and Tidwell.             That statement of claim, which

contained a detailed discussion of the allegations in the Bloomberg Article, asserted that it was

Rawl and Tidwell, not SGC, who had disseminated false information concerning SGC’s

operations. According to the statement of claim, Rawl and Tidwell caused the SEC inquiry into

SGC to cover up their own alleged misdeeds.

           112.   In August 2008, Rigby communicated with Alvarado and Bogar regarding the fact

that in light of the negative publicity regarding the Stanford entities, SGC’s clearing agent

wanted “comfort with respect to SIB” and wanted to know “whether there [was] any

investigation, whether formal or informal, involving SGC, SIB, or the CD.”

Q.         Jack Staley

           113.   Staley served as the President of Stanford Group (Suisse) AG. He was employed

by the Stanford entities from 2006 to 2009. Staley was closely involved with the operations of

the Stanford entities. In late 2007 or early 2008, Staley became the regional director for

Stanford’s Europe operations. In this capacity, he worked closely with Jim Davis and the other

regional directors in developing plans to restructure, reorganize, and consolidate Stanford’s

operations. He also worked closely with Davis and with the other regional directors in creating




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and coordinating regional and global budgets for the Stanford entities. Staley also played a key

role in facilitating new acquisitions and investments, particularly in Europe and North Africa.

        114.     On July 5, 2008, Staley, along with Allen Stanford, Jim Davis, Mauricio Alvarado

and others, received from Yolanda Suarez a copy of a Daily Telegraph story reporting that the

SEC was investigating Stanford. On September 23, 2008, Staley e-mailed Davis to tell him that

the Stanford financial advisors were “looking for comfort.” Nonetheless, Staley continued to

promote the Stanford scheme, including by facilitating the acquisition of Swiss-based

independent asset manager—Fortune Wealth Management (FWMG)—in July 2008, and by

working in November 2008 to create a coin and bullion fund.

R.      Linda Wingfield

        115.     Wingfield served as SFGC’s Senior VP of the Expense Review Department.

She was employed by the Stanford entities from 1998 to 2009. Wingfield had additional roles

with other Stanford entities, including: Director of Stanford International Bank Holdings Ltd.;

Director of Stanford Bank Holdings Ltd.; Director of Stanford Trust Holdings Ltd.; Director of

Sun Printing Ltd.; Director of The Antiguan Sun Ltd.; President of Two Islands One Club

Holdings Ltd.; Director of Idea Advertising Group, Inc.; and President of Stanford Development

Corp.

        116.     As a result of her position with SFGC, including her detailed knowledge of the

flow of funds between and among the various Stanford entities, Wingfield either knew or should

have known that Allen Stanford was misappropriating investor funds to fund his lavish lifestyle

by diverting those funds through various Stanford entities.

        117.     Wingfield also served as President of Two Islands One Club Holdings Ltd., one of

the Stanford entities that was involved in Allen Stanford and Jim Davis’s plan to effect a series

of paper transactions to inflate the value of $63.5 million in real estate purchased by SIB in 2008


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by 5,000 percent (to approximately $3.2 billion) during a 4 to 6-month period. The purpose of

this value inflation was to increase the value of the real estate holdings on SIB’s balance sheet to

achieve a desired level of equity in the business.

S.      Robert Winter

        118.     Winter was a SIB Director from 1998 to 2008 and served as an insurance broker

and risk management advisor for SIB. As a member of SIB’s Board of Directors, Winter knew

or should have known that the Hewlitt firm lacked the resources, credentials, reputation, and

staff to properly audit a multi-billion dollar investment portfolio. Winter also knew or should

have known of the inadequate documentation of SIB’s investment portfolio.

        119.     Winter placed coverage for SIB and consulted for SIB on risk management

strategy. Winter knew that SIB’s purported insurance coverage was being used improperly to

market the SIB CD to potential investors. Winter sent SIB investors and potential investors

thousands of “Safety and Security Letters” misrepresenting the benefits of the insurance policies

held by SIB. These letters improperly suggested that there were insurance policies in place to

protect the investors’ interests. Winter stated in these letters that, based on his knowledge, SIB

was composed of “first class business people.” The letters described risk management reviews

by an outside firm, suggesting that these reviews were material to obtaining the represented

coverage.

T.      Bernie Young

        120.     Young served as Managing Director and Chief Compliance Officer of SGC.

He was employed by the Stanford entities from 2006 to 2009. Young also served as Director of

Stanford Capital Management, LLC.

        121.     Young was actively involved in SGC’s activities related to SIB and the SIB CD.

Young was responsible for leading SGC’s due diligence efforts with respect to SIB and took


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several trips to Antigua to investigate SIB in connection with those efforts. During these trips,

Young reviewed SIB’s annual reports, quarterly market recap reports, and the offering

documents that SGC used to market SIB CDs to investors.

        122.     Young was also responsible for approving marketing materials related to the SIB

CD. In fact, Young helped spearhead SGC’s mandatory SIB CD training program. As part of

the program, Young approved a model that authorized Stanford financial advisors to allocate a

significant portion of their clients’ portfolios to the SIB CD. Through the program, Young

armed Stanford financial advisors with misleading information that he knew would reach

Stanford investors, including that SIB was subject to an extensive risk management analysis to

determine whether reasonable care was routinely exercised to protect its assets.

        123.     Young was one of the recipients of the 2007 Investor Analysis, which essentially

concluded that SIB was a Ponzi scheme. Young had the authority to stop SIB CD sales and, in

fact, he did so in February 2009 by issuing the order that stopped the sale of SIB CDs.

                                      REQUESTED RELIEF

COUNT I:         Breach of Fiduciary Duty

        124.     The Defendants were directors and officers of the various Stanford entities. The

Defendants each owed a fiduciary duty to place the interest of operating the Stanford entities in a

lawful manner above their own interest in being highly-compensated Stanford insiders, to use

reasonable care in operating and managing the Stanford entities, and to operate the Stanford

entities in a legal and reasonably prudent manner. Each of the Defendants also owed a fiduciary

duty to operate the Stanford entities in compliance with all applicable laws and regulations.

        125.     The Defendants breached their fiduciary duties by failing to use reasonable care in

operating and managing the Stanford entities, by failing to operate the Stanford entities in a

reasonably prudent manner, and by failing to operate the Stanford entities in compliance with all


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applicable laws and regulations. The Defendants ignored the numerous “red flags” discussed

above and continued to provide services that furthered the Stanford Ponzi scheme, despite their

extensive knowledge of the Stanford entities’ fraudulent operations. By ignoring these red flags,

the Defendants allowed the Stanford entities to be dominated, controlled, and exploited by the

Stanford Defendants. The Defendants’ grossly negligent acts and omissions demonstrate a want

of care and a conscious indifference to the rights, safety, and welfare of the Stanford entities.

The Defendants’ grossly negligent acts and omissions also manifest an actual awareness by the

Defendants that their conduct posed an extreme degree of risk and likelihood of serious injury to

the Stanford entities. The Defendants’ breaches furthered and helped perpetuate the Stanford

Ponzi scheme and assisted Allen Stanford in misappropriating at least $1.8 billion in investor

funds that were diverted through numerous Stanford entities.

        126.     Each of the Stanford entities was controlled by participants in the fraudulent

scheme and thus could not sue the directors and officers who were involved in perpetuating the

scheme. Thus, the statute of limitations was tolled until the wrongdoers were removed and the

Receiver was appointed.         The SEC filed its action against the Stanford Defendants on

February 17, 2009, and the Court appointed the Receiver on the same date. However, the

Receiver did not discover, and could not despite the exercise of reasonable diligence have

discovered, until more recently, the Defendants’ participation in furthering the Stanford Ponzi

scheme.     Moreover, the Defendants’ wrongful acts were inherently undiscoverable.          The

Receiver also asserts the doctrine of equitable tolling with respect to any applicable statute of

limitations.

        127.     Because the Defendants breached their fiduciary duties to the Stanford entities,

the Defendants are liable to the Receiver for damages, restitution, and disgorgement.




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Accordingly, pursuant to the equity powers of this Court, the Receiver seeks an order that: (a) the

Defendants breached the fiduciary duties they owed to the Stanford entities; (b) the Defendants

are liable to the Receiver for damages, restitution, and disgorgement as a result of those

breaches; and (c) the Receiver is entitled to his attorneys’ fees, costs, and pre-judgment and

post-judgment interest.

                                             PRAYER

        128.      The Receiver respectfully requests that the Court enter Judgment in his favor

providing that:

                  (a) the Defendants breached the fiduciary duties they owed to the Stanford

                       entities;

                  (b) the Defendants are liable to the Receiver for damages, restitution, and

                       disgorgement as a result of their breaches of the duties they owed to the

                       Stanford entities;

                  (c) the Receiver is entitled to his attorneys’ fees, costs, and pre-judgment and

                       post-judgment interest; and

                  (d) the Receiver is entitled to such other and further relief as the Court deems

                       proper under the circumstances.




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Dated: February 15, 2013.         Respectfully submitted,


                                  BAKER BOTTS L.L.P.

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RECEIVER’S ORIGINAL COMPLAINT       36
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                                                              10/01/14                                                             Page 37 of 38 PageID 42
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Ralph S. Janvey, Receiver                                                                               Pablo M. Alvarado, et al


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Kevin M. Sadler, Baker Botts L.L.P., 98 San Jacinto Blvd., Ste. 1500
Austin, TX 78701, Ph: 512.322.2500

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Case 3:14-cv-03560-N-BQ Document 4 Filed 10/01/14   Page 38 of 38 PageID 43


 Related Cases, Pending or Closed:


 Judge         Docket Number

 Godbey        3:09-cv-00298

 Godbey        3:09-cv-00724

 Godbey        3:09-cv-00334

 Godbey        3:09-cv-02206

 Godbey        3:09-cv-00487

 Godbey        3:09-cv-02041

 Godbey        3:09-cv-02166

 Godbey        3:09-cv-01274

 Godbey        3:09-cv-01474

 Godbey        3:10-cv-02584

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